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                                                     U.S. Department of Justice

                                                     United States Attorney
                                                     Southern District of New York


                                                     The Silvio J. Mollo Building
                                                     One Saint Andrew’s Plaza
                                                     New York, New York 10007


                                                     March 16, 2021

BY ECF
                                                      Application for a stay is granted. Defense counsel's response is
The Honorable Vernon S. Broderick                     due by the close of business on March 17, 2021.
United States District Judge
Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square
New York, New York 10007                                                                          3/16/2021


       Re:    United States v. Ng Lap Seng,
              S5 15 Cr. 706 (VSB)

Dear Judge Broderick:

       The Government respectfully writes in the above-captioned matter to request:

       (1) an emergency stay of the Court’s order of yesterday (Dkt. No. 989 (the “Order”)),
           granting reconsideration of the Court’s denial of the defendant’s prior motion for
           compassionate release (Dkt. No. 974), published at United States v. Ng Lap Seng, 459
           F. Supp. 3d 527 (S.D.NY. 2020), and

       (2) reconsideration of that grant in light of the new, material information set forth below
           (and any additional briefing as the Court believes may assist it in making a decision
           on the merits).

        In the Order, the Court stated: “The Government notes that [the Federal Bureau of
Prisons (“BOP”)] has begun vaccinating federal prisoners, including those at Defendant’s
facility, (Doc. 981, at 3), but does not provide any timeline for when, or if, Defendant might be
vaccinated or whether or not his vaccination might be delayed because of his immigration
status.” Order at 8-9. This morning, in connection with the Government advising the BOP of
the Order, the Government was informed by the BOP that the defendant declined to be
vaccinated against COVID-19 on February 9, 2021, thereafter changed his mind and received his
first dose of the Moderna vaccine on February 24, 2021, and is scheduled to receive his second
dose next week. Records documenting the defendant’s refusal and subsequent vaccination are
enclosed. 1


1      The Government did not learn this information until this morning.
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        Courts have uniformly—and properly—recognized that a defendant’s refusal to be
vaccinated and/or vaccination substantially diminishes any otherwise-applicable basis to be
considered for early release in light of the pandemic. See, e.g., United States v. Poupart, No. 11
Cr. 116 (JBA), 2021 WL 917067, at *1 (D. Conn. Mar. 10, 2021) (“The opportunity for
individually-identifiable inmates to opt to receive the COVID-19 vaccine represents a sea change
from their previous COVID-19 infection vulnerability and inability to protect themselves against
the virus, even with comorbidities. Evidence that a defendant has been offered the vaccine,
whether he accepts it or not, demonstrates that he had the ability and opportunity to take
measures to markedly reduce his risk of severe illness or death from COVID-19 while
incarcerated.”); United States v. Harris, No. 18 Cr. 628 (JMA), 2021 WL 848865, at *1
(E.D.N.Y. Mar. 5, 2021) (denying motion for compassionate release in part due to defendant’s
receipt of first dose of Moderna vaccine); United States v. Mason, No. 96 Cr. 126 (JFK), 2021
WL 793835, at *2 (S.D.N.Y. Mar. 2, 2021) (“Having now contracted the virus, and received a
vaccine against it, the fundamental and overriding purpose of [the defendant]’s initial request for
immediate release—i.e., the desire to remove him from an environment where he may contract
the virus—is significantly less compelling than when the January 5 Decision concluded that [his]
immediate release was not warranted.”); United States v. Miller, No. 19 Cr. 245 (KMK), Dkt.
No. 143, at 15 (S.D.N.Y. Feb. 19, 2021 (the defendant “has received the two-shot vaccine, which
studies show is approximately 95% effective. Thus, even considering [his] medical challenges,
he falls far short of establishing extraordinary and compelling circumstances that justify his early
release.”); United States v. Johnson, No. 94 Cr. 631 (PGG), 2021 WL 640054, at *5 (S.D.N.Y.
Feb. 18, 2021) (defendant had not established extraordinary and compelling reasons to justify his
release because he “has recently received a first dose of the COVID-19 vaccine, and he is
expected to receive a second dose in the coming weeks. The [d]efendant’s vaccination mitigates
the risks that he would otherwise face from the COVID-19 virus.”); United States v. Pabon, No.
17 Cr. 312 (JPC), 2021 WL 603269, at *3 (S.D.N.Y. Feb. 16, 2021) (“any risk that [the
defendant] may face from the spread of COVID-19 at Allenwood Low has been greatly reduced
because he is now fully vaccinated”); United States v. Thomas, No. 11 Cr. 630 (KMK), Dkt. No.
1504, at 8 (S.D.N.Y. Feb. 5, 2021) (the defendant “has received the first dose of the two-dose
vaccine, placing ahead of 90% of the country in getting innoculated against COVID-19. Thus,
[he] has not met his burden of showing extraordinary and compelling reasons for early release.”);
United States v. Lohmeier, No. 12 Cr. 1005, 2021 WL 365773, at *2 (N.D. Ill. Feb. 3, 2021)
(collecting cases supporting principle that circumstances are not extraordinary and compelling
where defendant refused vaccination); United States v. Hargrove, No. 18 Cr. 22 (VLB), 2021
WL 170836, at *7 (D. Conn. Jan. 19, 2021) (“Vaccination from the virus would undercut the
argument that release to home confinement to prevent him from contracting the virus constitutes
‘extraordinary and compelling’ reasons to modify his sentence.”). So too here.
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        Accordingly, the Court should grant a stay of its order of yesterday (Dkt. No. 989),
granting reconsideration of the Court’s denial of the defendant’s prior motion for compassionate
release, and reconsider that grant in light of the foregoing new, material information.2

                                      Respectfully submitted,

                                      ILAN T. GRAFF
                                      Attorney for the United States,
                                      Acting Under Authority Conferred by 28 U.S.C. § 515

                              By:     s/ Daniel C. Richenthal
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                              By:     s/ David A. Last
                                      David A. Last
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Enclosure

cc:    (by ECF)

       Counsel of Record


2       Even if the Court is not inclined to grant reconsideration on the merits, in the interest of
public health and safety, both of the defendant and the number of individuals with whom he will
come in contact while being transferred to and in ICE custody—and while taking a long flight or
flights back to Macau, China—the Court should stay its decision for a sufficient period such that
the defendant is not released to ICE custody prior to two weeks after receiving his second shot,
which is only days away. See Centers for Disease Control and Prevention (“CDC”),
Understanding How COVID-19 Vaccines Work, https://www.cdc.gov/coronavirus/2019-
ncov/vaccines/different-vaccines/how-they-work.html (updated Mar. 9, 2021) (“If it has been
less than two weeks since your shot, or if you still need to get your second shot, you are NOT
fully protected.”); CDC, Possible Side Effects After Getting a COVID-19 Vaccine,
https://www.cdc.gov/coronavirus/2019-ncov/vaccines/expect/after.html (updated Mar. 10, 2021)
(“It takes time for your body to build protection after any vaccination. . . . You should keep
using all the tools available to protect yourself and others until you are fully vaccinated.”).
                                                                            Bureau of Prisons
                                                                             Health Services
                                                                             Immunizations
Begin Date: 03/16/2020                                            End Date:       03/16/2021
Reg #:          92441-054                                         Inmate Name: SENG, NG LAP
Immunization                         Immunization Date       Administered     Location           Dosage Drug Mfg.   Lot #     Dose #   Exp Date
COVID-19 Moderna Vaccine             02/24/2021              Now              Left Deltoid       0.5mL Other        011A21A   1        08/16/2021

         Orig Entered: 02/25/2021 10:08 EST Yordy, A. RN
COVID-19 Moderna Vaccine    02/10/2021           Refused

             Orig Entered: 02/10/2021 08:35 EST Brown, Desiree RN
Influenza - Immunization        10/07/2020           Now                      Left Deltoid       0.5mL   GSK        9HT27              06/30/2021
     Fluarix Quadrivalent
           Orig Entered: 10/07/2020 10:31 EST Yordy, A. RN
Total: 3
                                                                                                                                                             Case 1:15-cr-00706-VSB Document 992 Filed 03/16/21 Page 4 of 5




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